      Case 4:09-cr-00024-MFU                     Document 122 Filed 01/24/12            Page 1 of 1         Pageid#:
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AO247(06/09)OrderRegardingMotionforSentenceReductionPursuantto18U.S.
                                                                   C.j3582(c)(2)

                                 UNITED STATESDISTRICT COUR #kv-êj.
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                                                   westernoistrictorvirginia                        JAN 2 ù 2212
                                                                                                 JuL        Du u-x nlv
                  United StatesofAmerica                                                        BK
                          V.                                                                           D         u
               W ILLIAM ALO NZO TAYLO R                           CaseNo: 4:09CR00024-002
                                                                  USM No: 14091-084
Date ofPreviousJudgment:            11/30/2010
(UseDateofLastAmendedJudgmentfApplicable)

                  OrderRegardingM otion forSentenceReductionPursuantto18U.S.C.j3582(c)(2)
        Uponmotionof1
                    -
                    7-1thedefendantI--ItheDirectoroftheBureauofPrisonsF-1thecourtunderl8U.S.C.
j3582(c)(2)forareductionintheterm ofimprisonmentimposedbasedonaguidelinesentencingrangethathas
subsequently been lowered and maderetroactive by the United StatesSentencing Comm ission pursuantto28 U.S.C.
j994(u),andhavingconsideredsuchmotion,andtakingintoaccountthesentencingfactorssetforthin 18U.S.C.j
3553(a),totheextentthattheyareapplicable,
IT IS ORDERED thatthem otion is:
        77-1DENIED. U-IGRANTED andthedefendant'spreviouslyimposedsentenceofimprisonment(asreflectedp
                                                                                                   '
                                                                                                   a
                          theIastjuagmentissued)of                           m onthsisreduced to                             .
1. COURT DETERM INATION OF GUIDELINE R ANGE (Priorto,kn.vDepartures)
PreviousOffenseLevel:                      Am ended OffenseLevel:
CriminalHistory Category:                  Crim inalHistory Category:
PreviousGuidelineRange:    to     months   Am endedGuidelineRange:                                          to           months
II. SENTENCE RELATIVE TO AM ENDED GUIDELINE M NGE
U-IThereducedsentenceiswithintheamendedguidelinerange.
(--1Thepreviousterm ofimprisonmentimposedwasIessthantheguidelinerangeapplicabletothedefendantatthetime
   ofsentencing asaresultofadepartureorRule35 reduction,and thereduced sentence iscom parably lessthanthe
   amended guidelinerange.
U-IOther(explainll



111. ADDITIONAL CO M M ENTS
     Defendantw assentenced underthe provisi
                                           ons ofAm endm ent750.
                                                               ,therefore,he is noteligible forany fudher
    reduction.



Exceptasprovidedabove,aIlprovisionsofthejudgmentdated                              shallremain in effect.
IT IS SO O RD ERED .

OrderDate:               01/24/2012
                                                                                      Judge'
                                                                                           s ' ature

Effective Date:                                                             SeniorUnited States DistrictJudge
                  (Lfdlfferevltjbom orderdate)                                      Printeànameandtitle
